
339 A.2d 726 (1975)
W., Appellant,
v.
W., Appellee.
Supreme Court of Delaware.
Argued April 18, 1975.
Decided April 25, 1975.
W., appellant, pro se.
Thomas Herlihy, III, of Herlihy &amp; Herlihy, Wilmington, for appellee.
Before DUFFY and McNEILLY, JJ., and TEASE, Judge.
PER CURIAM:
Defendant appeals from orders of the Superior Court dated December 6, 1974 and January 2, 1975, respectively, directing a property division following a decree of divorce granted on the application of her husband, the plaintiff.
The Superior Court has jurisdiction to divide marital property between spouses following a divorce, 13 Del.C. § 1527, and it has a broad discretion in the exercise of that jurisdiction, M v. M, Del. *727 Supr., 321 A.2d 115 (1974); cf. In re Wife K, Del.Ch., 297 A.2d 424 (1972); V. K. v. J. S. K., Del.Super., 283 A.2d 841 (1971). On appeal the inquiry is whether the Court abused its discretion in making a division or that it was clearly wrong in so doing. M v. M, supra.
We have considered the property division ordered by the Trial Court under the dates referred to above, the statements made at argument and the various documents filed by plaintiff. We conclude that the Superior Court did not abuse its discretion in making the division under attack and that the Court was not in error as a matter of law. For this reason, it follows that the judgment must be affirmed.
Affirmed.
